             Case 4:21-cv-05132-RMP                  ECF No. 15          filed 12/06/21     PageID.69 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action

                                                                                                                        FILED IN THE
                                         UNITED STATES DISTRICT COURT                                               U.S. DISTRICT COURT
                                                                                                              EASTERN DISTRICT OF WASHINGTON
                                                                  for the_
                                                     Eastern District of Washington                           Dec 06, 2021
                    Keven James Leopard,                                                                           SEAN F. MCAVOY, CLERK


                                                                     )
                             Plaintiff                               )
                                v.                                   )       Civil Action No. 4:21-cv-05132-RMP
                                                                     )
  BENTON COUNTY WA, CORPORAL NELSON,
 CHAPLIN JENNIFER, NAPHCARE INC., and IDEAL                          )
               OPTION PLLC,
                            Defendant

                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: Plaintiff’s Motion (ECF No. 12) is GRANTED and the Complaint is DISMISSED WITHOUT PREJUDICE.
’




This action was (check one):
’ tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

’ tried by Judge                                                                          without a jury and the above decision
was reached.

✔
’ decided by Judge             ROSANNA MALOUF PETERSON                                         on a motion to
      Voluntarily Dismiss Complaint.


Date: 12/06/2021                                                            CLERK OF COURT

                                                                            SEAN F. McAVOY

                                                                            s/ Allison Yates
                                                                                          (By) Deputy Clerk

                                                                            Allison Yates
